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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al.,                             *

        Plaintiffs,                                *
                                                             Civil Action No. 8:25-cv-00951-PX
   v.                                              *

KRISTI NOEM, Secretary,                            *
United States Department                           *
of Homeland Security, et al.,                      *

        Defendants.                             *
                                                *
                                               ***
                                              ORDER

        For the reasons discussed during today’s hearing, the Court hereby orders:

        1. That the Clerk unseal the Declaration of Secretary of State Marco Rubio at ECF No.

           112-5;

        2. By May 23, 2025, the Government is directed to supplement the Declaration of

           Secretary of State Marco Rubio at ECF No. 112-5 to support the State Department’s

           assertion of the state secrets privilege;

        3. By May 23, 2025, Defendants must also provide to Plaintiffs an updated privilege log

           (ECF No. 137-1) that properly redresses the noted deficiencies;

        4. Further, the Court grants Plaintiffs’ request at ECF Nos. 116 & 117 for leave to take

           three (3) additional 30(b)(6) depositions. Prior to May 23, 2025, parties must meet

           and confer as to the areas of inquiry. Should any disagreement arise that requires

           Court intervention, the parties will inform the Court via a status report to be

           submitted by May 23, 2025

        5. Last, Defendants must complete supplemental production of discovery as referenced



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      at ECF No. 143 on a rolling basis, but by no later than May 30, 2025.

   May 16, 2025                                              /S/
Date                                                  Paula Xinis
                                                      United States District Judge




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